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                                                                             Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

 ANDREW MINIK, JOEL VALDEZ, and
 BLAIR NELSON,

 Plaintiffs,
                                                   Case No. 2:18-cv-02101-CSB-EIL
 vs.

 BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS, et. al.,

 Defendants.



                              PLAINTIFFS’ RESPONSE TO
                           DEFENDANTS’ MOTION TO DISMISS

   NOW COME Plaintiffs Andrew Minik, Joel Valdez, and Blair Nelson, by and through their

attorneys, and respond to Defendants’ Motion to Dismiss under Rules 12(b)(1) and 12(b)(6):

                                           INTRODUCTION

   This is a case about the freedom of expression protected by the First Amendment to the

Constitution of the United States, and the actions of the University of Illinois that inhibit and

chill the exercise of this right by these Plaintiffs, and by other students who may desire to engage

in similar protected activities. These protected activities include observing and making video

recordings of, public, political demonstrations and activities engaged in by various individuals

and groups including those of Defendant Kahn and the group with which he is affiliated - the

Black Rose Anarchist Federation. This right of freedom of expression is critical in the University

context so that the free exchange of ideas, even unpopular activities, can occur without threat
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from the State of Illinois or its instrumentality, the University of Illinois. 1 “[S]tudents must

always remain free to inquire, to study and to evaluate, to gain new maturity and understanding;

otherwise our civilization will stagnate and die.” Whitehill v. Elkins, 389 U.S. 54, 60 (1967).

Thus, “free speech is of critical importance because it is the lifeblood of academic freedom.”

DeJohn v. Temple Univ., 537 F.3d 301, 314 (3d Cir. 2008). Freedom of speech, in particular, has

been the subject of several recent United States Supreme Court decisions including Minnesota

Voters All. v. Mansky, 138 S. Ct. 1876 (2018), Nat'l Inst. of Family & Life Advocates v. Becerra,

16-1140, 2018 WL 3116336 (U.S. June 26, 2018), Janus v. Am. Fed'n of State, County, & Mun.

Employees, Council 31, 16-1466, 2018 WL 3129785 (U.S. June 27, 2018) as well as a recent

decision from the Illinois Supreme Court, People v. Relerford, 2017 IL 121094 and the

Wisconsin Supreme Court, John McAdams v. Marquette University, No. 2017 AP 1240 (Wis.

Jul. 6, 2018)(unpublished order).

                                                 LEGAL STANDARD

    In reviewing motions to dismiss under 12(b)(1), “courts apply the same analysis used to review

whether a complaint adequately states a claim: ‘[C]ourts must accept as true all material

allegations of the complaint, and must construe the complaint in favor of the complaining

party.’” Silha v. ACT, Inc., 807 F.3d 169, 173 (7th Cir. 2015). (internal citation omitted).

Motions to dismiss for failure to state a claim under 12(b)(6) are generally viewed with disfavor,

Armstrong v. Snyder, 103 F.R.D. 96, 101 (E.D. Wis. 1984). These motions should not to be used

to resolve the merits of the case and can only be granted if the plaintiff has not provided fair

notice of its claim and factual allegations that, when accepted as true, are plausible and rise


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  While Plaintiffs were not told that Khan had also been hit with a no contact order, and Khan apparently knew
about the order imposed upon the Plaintiffs, the protection of the Constitution must be applied even to repugnant
messages. Nat'l Socialist Party of Am. v. Vill. of Skokie, 432 U.S. 43 (1977). Plaintiffs bring this suit not only to
vindicate their own rights, but also to protect the rights of all students to free expression, even Khan’s.


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above mere speculation. Runnion ex rel. Runnion v. Girl Scouts of Greater Chicago & Nw.

Indiana, 786 F.3d 510, 526 (7th Cir. 2015). Federal Rule 8(a)(2) only calls for “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Plaintiffs need only plead

sufficient facts to show that their claims have “substantive plausibility.” Johnson v. City of

Shelby, 135 S. Ct. 346, 347 (November 10, 2014) (per curiam) citing Bell Atlantic Corp. v.

Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U. S. 662 (2009).

   I. Plaintiffs’ claims are not barred by the Eleventh Amendment.

   The moving Defendants claim immunity from Plaintiffs’ claims under the Eleventh

Amendment to the United State Constitution. The Eleventh Amendment generally bars actions in

federal court against a state or an agency or arm of the same, including individuals in their

official capacity. Scott v. O'Grady, 975 F.2d 366, 369 (7th Cir. 1992). This general rule has

exceptions including, as relevant here, where individual state officials are sued for prospective

relief to enjoin ongoing violations of federal law. Ex Parte Young, 209 U.S. 123 (1908). It is

unclear whether the Defendants argue that the entire suit is barred by the Eleventh Amendment

or whether it is barred only with respect to damages against university officials.

   Defendants characterize Plaintiffs’ claims as “past due process violations” and “other

completed violations,” but do acknowledge that ongoing violations are not barred. Dkt. 10, p.10.

Defendants also cite to Sonnleitner v. York, a Section 1983 suit which sought a mandatory

injunction for reinstatement to correct a due process violation in connection with the demotion of

a public employee. 304 F.3d 704 (7th Cir. 2002). According to Defendants, that “court held that

although the injunctive relief was prospective, the claims pertained to a completed action rather

than an ongoing violation of federal law.” Dkt. 10, p. 10. Thus, it was the substantive equivalent




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of damages for the past violation of due process rather than an injunction to prohibit continuing

unconstitutional conduct.

    In contrast, the thrust of this Complaint is one for prospective relief from ongoing, not

completed, violations of Plaintiffs’ First Amendment rights as a result of the continuing

penalties, discipline, and restrictions imposed on them including (Dkt. 1, ¶¶ 60, 64, 73), but not

limited to, the continued existence of the ambiguous “no contact” orders (Dkt. 1, ¶¶ 36, 74),

which by their terms never expire, multiple continuing attempts to discipline Plaintiffs for

supposed violations of that order (Dkt. 1, ¶¶ 42-44, 54), the penalties imposed on Valdez,

including being prohibited from registering for class for refusing to comply with the University’s

unconstitutional order that he write an essay expressing the University’s opinion rather than his

own (Dkt. 1, ¶ 59), and the continuing existence of vague provisions of the student code which

can, and have, been used to chill Plaintiffs’ First Amendment rights. Dkt. 1, ¶ 84.

    While Plaintiffs also seek damages, a form of retrospective relief, damages for assault,

battery, and unlawful destruction of property, relate to Khan’s actions who has been sued in his

individual capacity (as well as his official capacity), thereby making those damages recoverable.

To the extent that Plaintiffs seek damages for violation of constitutional rights, Plaintiffs request,

in the interest of judicial economy, to amend their Complaint on its face to include suit against

all other Defendants in their individual capacities as well. 2 As alleged in the Complaint (Id. at ¶

63), Defendants Killeen and Jones were aware of the unconstitutional policies and supervised the

enforcement of the same. The University Board of Directors also had knowledge of the policies

and promulgated the unconstitutional Student Code. Id. at ¶¶ 77-78. In fact, the Student Code

specifically provides that the Board delegates authority to discipline students and that the


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 Plaintiffs concede that they cannot collect damages against the University or its Board of Directors, but may collect
damages against the University Defendants in their individual capacities.


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regulations were formulated by “a variety of sources” including “the Chancellor, the President,

and the Board of Trustees.” Student Code § 1-301. All authority and responsibility of the

individual Defendants in this matter was delegated by the Board. Id. at ¶ 24. In sum, the Board

has promulgated a clearly unconstitutional policy and has permitted its enforcement, Killeen and

Jones have carried it out, and Die has enforced the same. All Defendants are “persons” under

Section 1983 and the damages claims are proper in their individual capacities. 3 And because this

suit is primarily one for prospective relief from ongoing federal violations, the claims for

injunctive relief for the continuing violations of constitutional rights are also proper.

    II. Plaintiffs have properly stated a freedom of the press claim.

          A. Plaintiffs have properly stated a freedom of the press claim that is plausible on its
             face.

    Plaintiffs have done more than required to put Defendants on notice of a plausible freedom of

the press claim. The First Amendment to the United States Constitution, applicable to the states

through the Fourteenth Amendment, provides that “Congress shall make no law . . . abridging

the freedom of speech, or of the press.” U.S. Const. Amend, I. Freedom of the press necessarily

includes “news gathering” because “without some protection for seeking out the news, freedom

of the press could be eviscerated.”Branzburg v. Hayes, 408 U.S. 665, 681 (1972). Our highest

court has held that “state colleges and universities are not enclaves immune from the sweep of

the First Amendment” and its “precedents . . . leave no room for the view that, because of the

acknowledged need for order, First Amendment protections should apply with less force on


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  None of the Defendants are entitled to qualified immunity because Plaintiffs have alleged sufficient facts showing
Defendants violated “clearly established statutory or constitutional rights of which a reasonable person would have
known.” Stinson v. Gauger, 868 F.3d 516, 522 (7th Cir. 2015). “While the plaintiff does not have to present a case
with an identical factual situation, the plaintiff must show legal authority making it apparent that in the light of pre-
existing law a reasonable official would have known that the conduct in question violated the constitutional right at
issue.” Lundstrom v. Romero, 616 F. 3d 1108, 1118-1119 (10th Cir. 2010). As discussed in the arguments below,
Plaintiffs’ claims demonstrate that a reasonable official would have known that the restrictions on Plaintiffs violate
constitutional rights.


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college campuses than in the community at large.” Healy v. James, 408 U.S. 169, 180 (1972).

These treasured freedoms are precisely what Plaintiffs have alleged — which for the purposes of

a motion to dismiss are taken as true — that the Defendants have violated.

    The Complaint has alleged that Plaintiffs are campus journalists and correspondents for an

organization that reports on higher education. Dkt. 1, ¶¶ 11-14. The Complaint describes how

Die issued a no contact order, without notice or hearing, on Minik simply because Minik

published a story about Khan’s assault. Id. at ¶ 37. The Complaint further describes how Die

informed Minik that if he wanted “the situation to improve” he should stop writing about Khan, a

chilling warning against future reporting. Id. at ¶ 39.

    Plaintiffs also described how their freedom of inquiry and their ability to gather news have

been restricted. Although Die claimed that the orders would not apply to public places, the orders

themselves contain no such limitation and have been enforced otherwise. Die informed Nelson

that his attendance at three public events, which Nelson attended to film as a campus journalist,

would violate his no contact order if proven. Id. at ¶¶ 44-45. The events Nelson attended were

public, including a protest regarding the University’s mascot and a protest by the Graduate

Employees’ Organization union. In each case, Nelson’s ability to attend, inquire, and gather

news was impeded as a result of the no contact order. Minik was even removed from a public

printing lab presentation by a University employee simply because Khan’s wife, not Khan

himself, was in another part of the same building, thus demonstrating the University’s expansive

interpretation of the no contact order. Id. at ¶ 41.

    Moreover, the Complaint describes the constant fear Plaintiffs have about potentially

violating their orders (Id. at ¶ 76), how Plaintiffs can no longer walk about campus freely (Id. at

¶ 70), the chilling affect the orders continue to have (Id. at ¶ 80), the University’s monitoring of




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Plaintiffs’ social media (Id. at ¶¶ 43, 54), the reluctance to publish any more articles (Id. at ¶¶ 65-

67), and the overall inability to engage in protected journalistic activities. Id. at ¶ 73. Plaintiffs

have done more than enough to plead a valid cause of action that Defendants have violated their

freedom of the press.

         B. Defendants’ arguments are without merit.

             i. The Dahlstrom case is distinguishable from the one at hand.

   Defendants’ argument in response to the freedom of press claim relies heavily on one case,

Dahlstrom v. Sun-Times Media, LLC, 777 F.3d 937 (7th Cir. 2015), which they discuss and

analyze at length. Defendants, however, do not bother to explain how Dahlstrom applies here. In

Dahlstrom, the Sun-Times challenged the Driver’s Privacy Protection Act which prohibited

obtaining and disclosing personal information from state motor vehicle records. Id. The court

ruled against the Sun-Times holding that the act properly protects against “peering, into an

individual’s government records” thereby protecting “privacy concerns.” 777 F.3d at 948. But

this is not even remotely applicable here. Plaintiffs have not sought, and do not seek, to obtain

private information, much less to “peer” into anyone’s government records. On the contrary,

Plaintiffs have been chilled and restricted in their ability to cover public stories and attend public

events to gather news and take videos. Plaintiffs are not seeking to publish “protected

information” (Dkt. 10, p. 14), but to engage in public discourse and to publish stories about

public matters and events based on publically available information.

   Dahlstrom is also distinguishable on other grounds. The decision relates to content neutral

regulation restricting access to private “protected information,” and government records which is

inapplicable here. The restrictions on Plaintiffs here are content based restrictions, i.e. not Khan.

The Supreme Court has explained that a “regulation of speech is content based if a law applies to




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particular speech because of the topic discussed or the idea or message expressed.” Reed v. Town

of Gilbert, Ariz., 135 S. Ct. 2218, 2227 (2015). (emphasis added). Defendants here have

informed Plaintiffs that their situation will not improve unless they stopped publishing on one

topic — Khan. Minik was not issued a no contact order and warned against future publishing on

all topics, for that would be absurd. Minik has been chilled and restricted because of the topic

discussed, namely Khan. Likewise, the University has not restricted Plaintiffs’ ability to attend

and cover all public events, but only those in which Khan is present. The regulations imposed on

Defendants are content based and are “presumptively unconstitutional” being subject to strict

scrutiny. Id.

    Finally, the case here involves greater restriction on the ability to seek and gather news than

was the case in Dahlstrom, which involved a limitation on only one source of information,

protected confidential public records. Plaintiffs here have been chilled and restricted in their

ability to gather and seek news based on any firsthand reporting. Defendants, in fact, concede

this point arguing that Plaintiffs can gather information about Khan and his public activities

“from other sources.” Dkt. 10, p. 15. But this incredible statement only proves the point that

Plaintiffs are so restricted from engaging in journalistic activities, that they must rely on others to

be journalists in order for them to even have a story to publish. Because Defendants have so

restricted and chilled Plaintiffs’ ability to seek and gather the news, Plaintiffs freedom of press

rights have been violated regardless of whether the restrictions are content based.

                ii. Defendants’ actions do not further a legitimate governmental interest.

    Defendants assert that they have a legitimate interest in “preventing further altercations” and

“protecting other students” (Dkt. 10, p. 15), but do not cite any case establishing that the

University’s purported interest permits it to restrict Plaintiffs’ journalistic activities. Defendants’




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reliance on Tinker is misplaced because Tinker did not involve restrictions on press in a State

university but rather restrictions on wearing black arm bands in high school. Tinker v. Des

Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 504 (1969). Moreover, the Supreme Court there

ruled in favor of the students’ free speech claim. Likewise, Healey involved the denial of

recognition of a student group, not press restrictions. 408 U.S. at 192. And while the court

acknowledged that colleges have an interest in “preventing disruption” which may permit

restraints, the court also noted that colleges have a “heavy burden” to show the appropriateness

of that restraint. Id. at 184. There too, the college lost. The Blood Products case cited by

Defendants is even more irrelevant. That case has nothing to do with schools or restrictions on

press but was a suit by hemophiliacs against a nonprofit that provided information about blood

products in the 1980s. In re Factor VIII or IX Concentrate Blood Products Litig., 25 F. Supp. 2d

837, 839 (N.D. Ill. 1998). When it comes to restrictions on press, even the most important of

interests, such as national security, have been found lacking. New York Times Co. v. United

States, 403 U.S. 713, 723 (1971).

   Moreover, the only violence perpetrated in this case was violence by Khan. The University’s

purported interest is not furthered by punishing or restricting the victims of a violent attack or the

chilling of their First Amendment rights.

         C. Defendants ignore the proper standard on a motion to dismiss.

   To survive a motion to dismiss for failure to state a claim, Plaintiffs need only demonstrate

that they have put Defendants on notice of a plausible claim. See supra, p. 2.              Although

Defendants’ motion purports to be one under 12(b)(6), the motion says very little, if anything,

about whether Plaintiffs have properly pled their cause of action. In fact, the Defendants do not

identify any defect in the pleading that would warrant dismissal under 12(b)(6). Instead,




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Defendants primarily argue that the restrictions are content neutral and reasonable to further a

legitimate interest. While these arguments may become relevant in the future, they do not

address whether Plaintiffs have sufficiently stated a claim.

   III. Plaintiffs have stated a valid freedom of speech claim.

       A. Defendants retaliated against the Plaintiffs.
   Although Plaintiffs’ free speech claims are not limited to retaliation, and stand even if

imposed without retaliatory intent, Defendants assert that the elements of a retaliation claim are

(i) that the speech in question is constitutionally protected or was a matter of public concern, (ii)

that the plaintiffs suffered a deprivation likely to deter free speech; and (iii) that the speech was

at least a motivating factor in the deprivation. Dkt. 10, p.16. That standard, however, is in the

public employee context and inapplicable here.

   The test for retaliation for a “private citizen, on the other hand, must show: (1) he has an

interest protected by the First Amendment; (2) defendants' actions were motivated or

substantially caused by his exercise of that right; and (3) defendants' actions effectively chilled

the exercise of his First Amendment right. Unlike a public employee, speech of a private citizen

‘need not have been on matter of public concern for it to fall within the protection of First

Amendment.’” Everitt v. DeMarco, 704 F. Supp. 2d 122, 129–30 (D. Conn. 2010). (internal

citation omitted). In the words of the Seventh Circuit, “to establish a First Amendment retaliation

claim, the plaintiff must establish that he engaged in protected First Amendment activity,

suffered a deprivation that would likely deter future First Amendment activity, and the First

Amendment activity was a motivating factor in the defendant’s decision to take the retaliatory

action.” Walker v. Groot, 867 F.3d 799, 803 (7th Cir. 2017).




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   1. Plaintiffs’ activities are protected by the First Amendment.

   Plaintiffs’ presence and activities at Khan’s demonstration, including the carrying of a picket

sign and their response to Khan’s comments directed to them, was certainly protected activity, as

was Minik’s publication covering Khan’s attack. Likewise, Plaintiffs’ journalistic activities,

discussed above, are no doubt protected First Amendment activity. Because these activities all

constitute interests protected by the First Amendment, Plaintiffs easily satisfy this element.

   2. Plaintiffs suffered a deprivation deterring future First Amendment activity.

   Plaintiffs have suffered multiple deprivations, all of which have deterred, and continue to

deter First Amendment activity. Minik, for example, was issued a no contact order after he wrote

a new article about Khan’s attack on his colleagues. Dkt. 1, ¶¶ 36-37. Die then warned Minik

that if he wants “the situation to improve” he should stop writing articles about Khan. Id. at ¶ 39.

Minik was later expelled from a University building simply because Khan’s wife was in the

same building, thus further warning him against appearing in public places were Khan or his

associates may gather. Id. at ¶ 42. Even more, Nelson received a letter from Die citing him for

violation of his order for covering public events on campus. Id. at ¶¶ 44-45. Although no further

action has yet been taken, the hearing on the violation could be rescheduled, and the message

was clear — you cannot engage in speech activities relating to Khan and his associates. Plaintiffs

also had their social media pages monitored (Id. at ¶ 54), were warned against protected

activities online (Id. at ¶ 56) and, with respect to Valdez, directed to write an essay contrary to

his own opinion on threat of being rendered ineligible to register for classes in the fall. Id. at ¶¶

57-58. Accordingly, Plaintiffs have stated that they fear engaging in protected activities and

constantly worry about not violating their orders. Id. at ¶ 70. Plaintiffs’ pleading satisfies this

second element.




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   3. The First Amendment activity was a motivating factor for the retaliatory action.
   The no contact orders the University imposed on Plaintiffs were specifically, and expressly,

motivated by Plaintiffs’ First Amendment activity. These speech restrictions were imposed right

after, and because of, two of the plaintiffs’ activities at Khan’s demonstration and Minik’s

publication of the news story. Die himself stated that if the Plaintiffs wanted the situation to

improve, they should stop writing about Khan. Id. at ¶ 39. Likewise, Die’s citation against

Nelson specifically states that Nelson violated his no contact order because he attended public

events on three separate occasions. Id. at ¶ 45.

   Plaintiffs have adequately demonstrated that all of the retaliation elements are satisfied, and

have properly pled their cause of action. Even if the standard for public employees were in

effect, which it is not, it is also clear that Khan’s public activities advocating for political,

economic, and social change, and his activities in connection with organizing a union of public

employees, (see Janus, supra p. 2), are matters of public interest.

       B.      Defendants have unreasonably restricted Plaintiffs’ speech.
   Defendants argue that the restrictions on Plaintiffs’ speech are valid “time, place, and

manner” restrictions because they are content-neutral, “focused on legitimate interests,” and

narrowly applicable to Khan. Dkt. 10, p. 18. But as explained above, these restrictions are

neither content neutral, nor do they further a legitimate governmental interest, nor do they have

any connection to time, place or manner. Instead, they focus only on the topic of the speech.

   These restrictions are content based because they apply to particular speech because of the

topic discussed or the idea or message expressed.” Reed v. Town of Gilbert, Ariz., 135 S. Ct.

2218, 2227 (2015). (emphasis added). “Content-based laws—those that target speech based on

its communicative content—are presumptively unconstitutional and may be justified only if the

government proves that they are narrowly tailored to serve compelling state interests.” Id. at


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2226. Here, Plaintiffs have been told that for their situation to improve, they should not write on

one topic — Khan. Dkt. 1, ¶ 39. The University has enforced the no contact orders broadly to

prevent Plaintiffs from attending public events where Khan is also attending, thus turning Khan

into a walking speech restriction. Id. at ¶¶ 41, 45. And these restrictions do not further the

University’s purported interest because instead of protecting the student victims of assault, they

have actually punished them. Even more, these restrictions have not been applied narrowly to

Khan as Minik was forced out of a public lecture simply because Khan’s wife was in the same

building. Id. at ¶ 41.

    Moreover, the University issued these no contact orders against campus journalists, two of

whom were attacked and a third who wrote the story on the attack. As a result of these orders,

the University has severely limited the news outlet “Campus Reform” from gathering first hand

news on public campus events where Khan might be present.

    Furthermore, while the University might raise a defense that the restrictions were reasonable

or related to a legitimate public interest, that possibility does not render the Complaint defective.

Defendants again fail to demonstrate that Plaintiffs have not put them on notice that the

University has implemented content based regulations that are not sufficiently narrow to serve a

significant government interest. Defendants cannot identify any defect in the pleading to warrant

a dismissal under 12(b)(6).

        C.      The University’s regulations are invalid.

        (i) The Student Code is overly broad.
    The relevant parts of the Student Code (“Code”) that the University has enforced against the

Plaintiffs are, §1-302(g), §1-302(o)(1), and §1-302(r) which provide:

        §1-302(g)
        Providing false or misleading information to a member or agent of the University
        acting in the performance of his or her duty; or failing to comply with reasonable


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          directions of a member or agent of the University acting in the performance of
          his or her duty,

          §1-302(o)(1)
          Abuse of the University disciplinary system including, but not limited to: (1)
          failure to obey the directive of a disciplinary body or University officials in
          performance of their duties.

          §1-302(r)
          Inciting, aiding, or encouraging others to engage in a behavior which violates the
          Student Code.

   The University cited Nelson for violations of Sections 1-302(o)(1) and 1-302(g) after he

attended a public protest at a University basketball game and a graduate teacher’s union protest.

Dkt. 1, ¶¶ 44-45. Ultimately, Die has not yet pursued additional discipline against Nelson under

this citation, but also did not rescind the citation or apologize for it. The citation served as a

further threat, chilling expressive and journalistic activities. If these regulations can be

interpreted by the University as prohibiting what are clearly protected speech and press activities,

they are clearly overbroad and ambiguous rendering them unenforceable. Mansky, at 1888-89

(2018).

   In fact, none of the terms in §1-302(g) are defined. A student is left without guidance as to

what “reasonable directions” are or who ultimately makes this decision. Are reasonable

directions, for example, instructions to evacuate a building in an emergency? Or “Don’t write

about Khan or cover his public events?” If the latter, students, at the whim of University

officials, could be deprived of their constitutional rights. It is also unclear as to who is an “agent

of the University” for the purposes of this Code. Moreover, Khan himself was and perhaps is an

instructor/graduate assistant at the University. If Khan qualifies as an agent of the University,

must other students obey Khan’s “reasonable” directions at the risk of being disciplined,

regardless of the obvious conflict? Nor are students ordinarily in a position to know whether the




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orders of a university official are within the scope of their duties. Die himself inconsistently

enforced the no contact order, assuring Plaintiffs that it did not apply to public spaces, yet issuing

violation notices for incidents that occurred in public spaces. While it only mentions Khan

himself, the University enforced it against Minik when Khan’s wife, not Khan, was present in a

completely separate portion of a public building.

   Section 1-302(o)(1) is plagued by the same kinds of defects. Nelson was charged with

violating this rule because of the alleged “failure to obey the directive of a disciplinary body or

University officials in performance of their duties.” Was Die, acting alone, a “disciplinary body”

or “University officials?” Further, that disciplinary body, if that was what Die was, issued

inconsistent orders, one informing Nelson that the no contact order does not apply to public

places and the other charging him with a violation in a public place. Additionally, this rule uses

the term “university officials,” a term not seen in the previous rule. It is reasonable to anticipate

that a student would have difficulty ascertaining which employees have which status, so long as

these are left undefined.

   Finally, Valdez was charged with violating Section 1-302(r) when he liked and commented

on a Facebook post left by a friend of his who does not attend the University. The Code prohibits

a student from encouraging others to engage in behavior that would violate the Code. However,

any behavior that violates the Code must come from a student of that University who is subject

to the Code. Section 1-301(c) of the Code states:

       Individuals subject to student discipline include, but are not limited to, all persons:

         (1) Taking courses at the University;
         (2) Who cancel, withdraw, or graduate after committing behavior which
             may violate the code;
         (3) Who are not officially enrolled for a particular term but have continuing
             relationship with the University; and
         (4) Who have been notified of and accepted their admission



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             This definition includes but is not limited to individuals between
             academic terms and persons who consent to participle in the student
             disciplinary process. §1-301(c).

   Because Valdez’s friend is not a student, and none of the §1-301(c) provisions apply to him,

he could never engage in behavior “which violates the Student Code.” Thus, Valdez cannot be

said to be encouraging his friend to engage in behavior which violates the Code. Die charged

Valdez erroneously because of the overbroad nature of these codes. Furthermore, a mere

Facebook post would be protected activity preventing the poster from being disciplined by the

State or its instrumentality, the University. And clearly, liking that post is also protected. Thus,

the University’s potential, and actual, interpretation of the Code involved prohibition of

protected speech activities.

   Because these terms are undefined and the enforcement of the Code inconsistent and

unconstitutional, Plaintiffs have sufficiently pled that the Code is overbroad. In Mansky, the

plaintiffs there did not have to show that the law prohibiting clothing carrying a political

message had been enforced to chill or prohibit protected speech, it was enough that, because of

its ambiguities, it could be so enforced. In this case, we do not have to guess, because that is just

how they were used. Mansky, at 1888-1890.

       (ii) Discretion is unbridled.
   Defendants’ argument here is self-defeating. They attempt to show that the Code does not

grant unbridled discretion by citing to a second set of codes known as the “Student Disciplinary

Procedures” (“Procedures”). But the very provisions Defendants cite show the opposite.

   To begin, Defendants cite to Section 2.02(a) of the Procedures which states that “[a]ll

concerns about violations of the Code will be referred to a DO. The DO will review the

allegations and select the appropriate charges to be considered, if any.” The rule thus gives one

person full discretion in deciding which charges to bring. Given the vague nature of the Code,


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those charges could be anything. Next, §2.02(b) states that that same person “will issue a charge

letter which shall inform the respondent of the approximate date, location, and type of incident,

as well as of the section(s) of the Code that have allegedly been violated. The DO will encourage

the respondent to schedule an appointment to discuss the matter.” §2.02(b). At this point, the DO

has picked the charge to be filed, sent a notice to the student of the charges, and the best the

student gets is an option to attend a discussion with this same person. If the student agrees to

meet the DO, §2.02(c) allows the DO to explain in person what the notice already says, it does

not require the DO to record the student’s objections or thoughts. The next step is §2.02(d),

where the DO has complete discretion “to make a finding of fact and decide whether it is more

likely true than not true that the respondent’s conduct constitutes a violation of the Student

Code.” Id.

   Thus, the DO in his sole discretion decides whether the student violated the Code, but this

rule does not tell the DO how to come to this determination. Thus, one person, with no standard,

interprets what the vague Code means and then accuses a student of violating that Code. The

same person then acts as prosecutor, jury, and judge, with no checks on how the DO should act.

The words of §2.02(d) make it clear that the DO “has the authority to make a finding of fact…”

but does not guide the DO in how to properly utilize that authority.

   Further, if a student contests these allegations, he must do so in writing per §2.02(e), only

then in §2.02(f) will the DO consider “all information received and may (emphasis added)

conduct further investigation to determine if it is more likely true than not true that the

respondent is responsible for violating the Student Code. The DO may (emphasis added) forward

a matter to a subcommittee before reaching a finding and sanctioning decision.” Id. The DO does

not have to do these things, but is again given complete discretion, with no guidance as to when




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it should be done. The Code does not compel him to conduct further investigations in light of

new information submitted by the student, nor does it compel him to reach out to a committee, it

only provides the option to do so.

   Finally, § 2.02(g) states that “[t]he DO is authorized to make a finding of fact, determine

violations of code, and assign any disciplinary sanction, education sanction, or restriction . . . .”

Id. Once more, one person acts as interpreter, accuser, prosecutor, jury, judge, and now,

executioner, with limitless discretion. Moreover, § 2.04, which lists the types of punishments

available, is not exhaustive. The first sentence states that “actions include, but are not limited to

(emphasis added), the following:” and then proceeds to list the actions. Therefore, the DO can

not only choose any one of the listed actions, but is also authorized to fabricate any punishment

he sees fit. Absent the 8th Amendment, the language is broad enough to encompass hanging,

drawing and quartering, or perhaps confinement to the stocks. In particular, §2.04(c)(ii) states

that the DO may restrict that student from “certain activities on campus” and then provides

examples, one of which is “other restrictions deemed [by the DO] just and appropriate.” Id. This

broad language could and has opened the door to a host of restrictions infringing on students’

constitutional rights. Because these regulations vest the State with virtually unlimited authority

and discretion to potentially regulate speech, these rules are unconstitutional. See City of

Lakewood v. Plain Dealer Publishing Co., 486 U.S. 750 (1988).

   D.    Defendants have violated the compelled speech doctrine.

   Plaintiffs have also alleged that the University has required that Valdez write an essay

expressing the University’s opinion rather than his own (Dkt. 1, ¶ 57) and that this was “an

attempt to compel Valdez’s written communication of things with which he did not agree and




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required false admissions . . . .” Id. at ¶ 58. 4 The Supreme Court has just recently held that

“Compelling individuals to mouth support for views they find objectionable violates that cardinal

constitutional command, and in most contexts, any such effort would be universally

condemned.” Janus 2018 WL 3129785, at *9. “Whenever the . . . State prevents individuals from

saying what they think on important matters or compels them to voice ideas with which they

disagree, it undermines these ends. When speech is compelled, however, additional damage is

done. In that situation, individuals are coerced into betraying their convictions.” Id. See also

Nat'l Inst. of Family & Life Advocates v. Becerra, 16-1140, 2018 WL 3116336 (U.S. June 26,

2018)(striking down law requiring pro-life pregnancy centers to promote or advertise the

services of abortion providers).

       IV. Defendants’ restrictions violate Plaintiffs’ Due Process 5.

       A. Defendants’ vague policies provide no criteria for the disciplinary officer.

       The Complaint alleges that the Code and the disciplinary policies violate Plaintiffs’ right to

procedural due process because they are unconstitutionally vague and permit arbitrary,

discriminatory, and overzealous enforcement. The Due Process Clause prohibits government

from censoring speech pursuant to vague standards. A regulation is void-for-vagueness if it

“forbids or requires the doing of an act in terms so vague that [students] of common intelligence

must necessarily guess at its meaning and differ as to its application.” Stephenson v. Davenport

Cmty. Sch. Dist., 110 F.3d 1303, 1308 (8th Cir. 1997). The Seventh Circuit has stated, “even if a

law does not reach a substantial amount of constitutionally protected conduct, it can be found to

be impermissibly vague if it fails to define the offense with sufficient definiteness that ordinary

people can understand what conduct is prohibited and it fails to establish standards to permit


4
    Defendants do not address this allegation in their motion.
5
    Plaintiffs proceed only under procedural due process, not substantive due process.


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enforcement in a nonarbitrary, nondiscriminatory manner.” Fuller ex rel. Fuller v. Decatur Pub.

Sch. Bd. of Educ. Sch. Dist. 61, 251 F.3d 662, 666 (7th Cir. 2001). Standards that regulate speech

must be “‘susceptible of objective measurement,’ and ‘precision of regulation must be the

touchstone.’” Espinosa v. Rusk, 634 F.2d 477, 482 (10th Cir. 1980) (quoting NAACP v. Button,

371 U.S. 415 (1963)). As explained, the Code language has not been defined with “sufficient

definiteness” and does not provide standards to prohibit enforcement in a “nonarbitrary,

nondiscriminatory manner.”

   Without any objective criteria as to what expressive activities make the students susceptible

to liability, Defendants reserve for themselves the ability to apply the codes on a subjective case-

by-case basis. This is made more evident by the Procedures which give the DO complete

discretion to decide not only what parts of the Code are violated but what facts are relevant in

deciding this. The very existence of this Code chilled, and continues to chill, protected activities.

   B. Plaintiffs have not been given a proper hearing.

   Dixon v. Alabama State Board of Education, 294 F.2d 150 (5th Cir. 1961), adopted by the

Supreme Court in Gross v. Lopez, 419 U.S. 565 (1975), holds that the Due Process Clause

applies to tax-supported educational instructions and that process requires notice and some

opportunity for hearing.

   The Procedures do not provide a student an opportunity for a hearing as required by Dixon.

Instead, it provides unbridled discretion to the DO to decide whether a hearing is appropriate.

§2.02(f). This is inappropriate because it does not guarantee all students a hearing. This

essentially makes the DO the gatekeeper to due process guarantees. The court in Dixon held that

“[b]y its nature, a charge of misconduct . . . depends upon a collection of the facts concerning the

charged misconduct, easily colored by the point of view of the witness. In such circumstances, a




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hearing which gives the Board of administrative authorities of the college an opportunity to hear

both sides in considerable detail is best suited to protect the rights of all involved.” Dixon at 158-

159.

    Plaintiffs were not given the opportunity to attend a hearing where both sides would be

examined in “considerable detail.” Because the University’s polices, still in effect, do not

provide students a right to a hearing, and because Plaintiffs were not, in fact, afforded a hearing

before the imposition of the no contact orders, their due process rights have been violated.

                                            CONCLUSION

    WHEREFORE, Plaintiffs respectfully request that this Court deny the Motion to Dismiss

and grant other just relief.

Dated: July 9, 2018

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                             CERTIFICATE OF SERVICE

       I hereby certify that on July 9, 2018, I electronically filed PLAINTIFFS’ RESPONSE
TO DEFENDANTS’ MOTION TO DISMISS with the Clerk of Court using the CM/ECF
system and served upon counsel of record:

      Charles R. Schmadeke               Email: cschmadeke@hinshawlaw.com

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                          CERTIFICATE OF COMPLIANCE

    I hereby certify that the foregoing PLAINTIFFS’ RESPONSE TO DEFENDANTS’
MOTION TO DISMISS complies with the type-volume limitation specified in Local Rule
7.1(b)(1). According to the word count of the word-processing system used to prepare this
document, there are 6,565 words in the Response.


Dated: July 9, 2018.
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